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        In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 14-1235V
                                      Filed: March 31, 2015
                                           Unpublished

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VINCENT J. CHRISTIANCY,                *
                                       *
                    Petitioner,        *      Ruling on Entitlement; Concession;
                                       *      Trivalent Influenza or Flu Vaccine;
                                       *      Shoulder Injury Related to Vaccine
SECRETARY OF HEALTH                    *      Administration; SIRVA; Special
AND HUMAN SERVICES,                    *      Processing Unit
                                       *
                    Respondent.        *
                                       *
****************************
Matthew Menzer, Esq.,Menzer Law Firm, PLLC, Seattle, WA for petitioner.
Lara Englund, Esq., U.S. Department of Justice, Washington, DC for respondent.

                                     RULING ON ENTITLEMENT1

Vowell, Chief Special Master:

        On December 24, 2014, Vincent J. Christiancy filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq,2 [the “Vaccine Act” or “Program”]. Petitioner alleges that he suffered a shoulder
injury which was caused by the trivalent influenza vaccination he received on October
16, 2013. Petition at 1-2, 6. The case was assigned to the Special Processing Unit of
the Office of Special Masters.

       On March 30, 2015, respondent filed her Rule 4(c) report in which she agrees
that “petitioner’s alleged injury is consistent with a shoulder injury related to vaccine
administration (SIRVA) . . . [and] petitioner’s SIRVA was caused-in-fact by the flu
vaccination he received on October 16, 2013.” Respondent’s Rule 4(c) Report at 3.


1 Because this unpublished ruling contains a reasoned explanation for the action in this case, I intend to
post it on the United States Court of Federal Claims' website, in accordance with the E-Government Act
of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501
note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2006).
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Respondent further agrees that petitioner’s injury lasted for more than six months and
no other cause for petitioner’s injury was identified. Id. at 3-4.

       In view of respondent’s concession and the evidence before me, I find that
petitioner is entitled to compensation.

                                  s/Denise K. Vowell
                                  Denise K. Vowell
                                  Chief Special Master




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